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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



LUCILLE S. TAYLOR,

                Plaintiff,
                                                               CASE NO. 1:19-CV-670
v.
                                                               HON. ROBERT J. JONKER
DENNIS M. BARNES, et al.,

            Defendants.
__________________________________/

                                              ORDER

         The Court has reviewed all of the pleadings filed in preparation of the oral argument

scheduled for August 25, 2020 on the cross motions for summary judgment.

         In light of the parties’ careful and thorough briefing, and the Joint Statement of Undisputed

Facts, the Court does not believe oral argument is necessary, and hereby CANCELS the August 25

hearing. The Court will issue a written opinion.



Dated:      August 24, 2020                    /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
